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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                            Case No.: 14-CIV-24277-Martinez/Otazo-Reyes



    COMPANHIA ENERGÉTICA POTIGUAR,

           Plaintiff,

              --against—

    CATERPILLAR INC., CATERPILLAR
    AMERICAS SERVICES CO. and
    CATERPILLAR AMERICAS CO.,

              Defendants.



               JOINT MOTION TO EXTEND SCHEDULING ORDER DEADLINE

         Plaintiff Companhia Energética Portiguar (“Plaintiff”) and Defendants, Caterpillar Inc.,

  Caterpillar Americas Services Co., and Caterpillar Americas Co. (“Defendants”) (collectively,

  the “Parties”), by and through their respective undersigned counsel and pursuant to Federal Rule

  of Civil Procedure 6(b), respectfully move to extend the current Scheduling Order deadline with

  respect to deposition designations, and in support thereof, state as follows:

         1.       Pursuant to the Order Revising Pretrial Schedule (ECF No. 452), the Parties are

  required to jointly file a single transcript for each deposition designated to be used at trial

  following the procedures set forth in ECF No. 26 ¶¶ 5(b) and (c).

         2.       The Parties have been working diligently in order to produce a single transcript

  containing both Plaintiff and Defendants’ designations and objections for each deponent;

  however, given the volume of depositions to be designated, the Parties require additional time to

  produce a single joint transcript for each designated deposition.



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         3.      Accordingly, the Parties respectfully request an extension of time of three (3)

  days, until January 17, 2020, to file a single joint transcript for each designated deposition.

         4.      The Parties agree that there will be no undue prejudice to either side as a result of

  the extension of time requested.

         WHEREFORE, for the foregoing reasons, Plaintiff, Companhia Energética Portiguar, and

  Defendants, Caterpillar Inc., Caterpillar Americas Services Co., and Caterpillar Americas Co.,

  respectfully request that the Court grant an extension of time, through and including January 17,

  2020, to allow for the filing of a single joint transcript for each designated deposition, and any

  further relief the Court deems just and proper.



  Respectfully submitted this 13th day of January 2020,



   MARCOS D. JIMENEZ, P.A.                              HALL, LAMB, HALL & LETO, P.A.

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